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                  UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN



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   Sheila K. Abramski             930207
                                                       Judge Joel D. Applebaum
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                                       /s/ Cheryl Cook 
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 Dated: September 11, 2013




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